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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                                     :
JAKUB MADEJ                                          :
                                                     :       CIVIL ACTION NO.
                       PLAINTIFF                     :       3:20-cv-00133-JCH
                                                     :
v.                                                   :
                                                     :
YALE UNIVERSITY, MARVIN CHUN,                        :
MARK SCHENKER, PETER SALOVEY AND                     :
JESSIE ROYCE HILL                                    :
                                                     :
                       DEFENDANTS                    :
                                                     :       JULY 8, 2020

                              OBJECTION TO LETTER BRIEF

       On July 2, 2020, the plaintiff filed a letter addressed to Judge Hall regarding defendant

Yale University’s response to one of the plaintiff’s Requests for Admission. (Docket Entry No.

126.) The information on Judge Hall’s website with the District Court for the District of

Connecticut states: “Judge Hall does not favor letter briefs. She prefers that formal motions be

filed.” See, http://www.ctd.uscourts.gov/content/janet-c-hall. Judge Hall previously informed the

plaintiff that the proper vehicle through which to address discovery disputes is a motion filed with

the Court. See, Docket Entry No. 112. The plaintiff should be required to abide by the Federal

Rules of Civil Procedure, the Local Rules for the District of Connecticut, and the orders of this

Court. Since the plaintiff’s letter to Judge Hall is inappropriate, the defendants will not respond

to the substance thereof, unless ordered to do so by the Court.
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                                                THE DEFENDANTS,

                                                YALE UNIVERSITY, MARVIN CHUN, MARK
                                                SCHENKER, PETER SALOVEY AND JESSIE
                                                ROYCE HILL


                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                COLLEEN NOONAN DAVIS – CT27773
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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